             Case 3:20-cv-03866-JCS Document 32 Filed 06/18/20 Page 1 of 3




 1   WALTER RILEY, SBN 95919                        JAMES DOUGLAS BURCH, SBN 293645
     LAW OFFICE OF WALTER RILEY                     National Lawyers Guild
 2   1407 Webster Street, Suite 206                 558 Capp Street
 3   Oakland, CA 94612                              San Francisco, CA 94110
     Telephone: (510) 451-1422                      Telephone: (415) 285-5067 x.104
 4   Facsimile: (510) 451-0406                      Email: james_burch@nlgsf.org
     Email: walterriley@rrrandw.com
 5                                                  Attorneys for Plaintiffs
     DAN SIEGEL, SBN 56400                          ANTI POLICE-TERROR PROJECT,
 6
     ANNE BUTTERFIELD WEILLS, SBN 139845            COMMUNITY READY CORPS,
 7   JANE BRUNNER, SBN 135422                       AKIL RILEY, IAN McDONNELL, NICO
     SONYA Z. MEHTA, SBN 294411                     NADA, AZIZE NGO, and JENNIFER LI
 8   EMILYROSE JOHNS, SBN 294319
     ANDREW CHAN KIM, SBN 315331
 9
     SIEGEL, YEE, BRUNNER & MEHTA
10   475 14th Street, Suite 500
     Oakland, California 94612
11   Telephone: (510) 839-1200
     Facsimile: (510) 444-6698
12
     Email: danmsiegel@gmail.com;
13   abweills@gmail.com;
     janebrunner@hotmail.com;
14   sonyamehta@siegelyee.com;
     emilyrose@siegelyee.com;
15
     chankim@siegelyee.com
16
17                               UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA
19   ANTI POLICE-TERROR PROJECT,               )   Case No. 3:20-cv-03866-JCS
     COMMUNITY READY CORPS, AKIL               )
20                                                 [PROPOSED] ORDER GRANTING
     RILEY, IAN McDONNELL, NICO NADA,          )
21   AZIZE NGO, and JENNIFER LI, on behalf     )   TEMPORARY RESTRAINING ORDER
     of themselves and similarly situated      )   AND ORDER TO SHOW CAUSE
22   individuals,                              )
                                               )
23                Plaintiffs,                  )
24    vs.                                      )
                                               )
25   CITY OF OAKLAND, OPD Police Chief         )
     SUSAN E. MANHEIMER, OPD Sergeant          )
26   PATRICK GONZALES, OPD Officer             )
27   MAXWELL D’ORSO and OPD Officer            )
     CASEY FOUGHT,                             )
28                                             )
                  Defendants.
                                               )


     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Order Granting Temporary Restraining Order and Order to Show Cause - 1
                Case 3:20-cv-03866-JCS Document 32 Filed 06/18/20 Page 2 of 3




 1         This matter came before the Court’s on June 18, 2020, at 1 p.m., on Plaintiffs’
 2   Application for a Temporary Restraining Order and Order to Show Cause.
 3         Based upon the agreement of the parties and good cause appearing,
 4         IT IS HEREBY ORDERED, pending further hearing and the Court’s Order, that
 5   defendants City of Oakland, Police Chief Susan Manheimer, et al., and all persons acting on
 6   their behalf and under their supervision are forbidden from:
 7         1.       Using tear gas or any other chemical weapons against persons taking part in a
 8                  protest or demonstration.
 9         2.       Firing rubber bullets or similar projectiles at persons taking part in a protest or
10                  demonstration.
11         3.       Firing flash bang grenades at persons taking part in a protest or demonstration.
12         4.       The prohibitions of paragraphs 1 and 3 do not apply where, upon the decision of
13                  the OPD Operations Commander or Incident Commander, it is determined that
14                  the use of tear gas or any other chemical weapon or flash bang grenades is
15                  reasonably necessary to protect the lives of people, protect people from serious
16                  bodily injury, or to prevent the imminent destruction of property, tear gas or other
17                  chemical weapons or flash bang grenades at Oakland City Hall, the OPD
18                  Administration Building, or the OPD Eastmont Mall Substation to protect persons
19                  or protect that property from destruction. Flash bang grenades may not be fired
20                  directly at persons but must be fired only in a safe direction. To the fullest extent
21                  possible, such use of tear gas or other chemical weapons and flash bang grenades
22                  is allowed only after an audible warning of their use has been issued and after
23                  sufficient time to comply has been granted.
24         5.       In all actions in which the Oakland Police Department calls in police personnel
25                  from other jurisdictions under mutual aid agreements, to the fullest extent
26                  possible OPD personnel shall endeavor to assume front line positions between
27                  mutual aid officers and demonstrators.
28



     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Order Granting Temporary Restraining Order and Order to Show Cause - 2
              Case 3:20-cv-03866-JCS Document 32 Filed 06/18/20 Page 3 of 3




 1         This Order shall remain in effect until further Order of the Court. This matter shall be
 2   heard by the Court on July 2, 2020, on Plaintiffs’ motion for a preliminary injunction.
 3
 4         SO STIPULATED.
 5
 6         SIEGEL, YEE, BRUNNER & MEHTA
           WALTER RILEY
 7         JAMES DOUGLAS BURCH
 8
           By: Dan Siegel_____________
 9               Dan Siegel
10         Attorneys for Plaintiffs
11
12         CITY OF OAKLAND
13         By: David A. Pereda_________
14               David A. Pereda

15         Attorneys for Defendants
16
           IT IS SO ORDERED.
17
18
           Dated: June 18, 2020                      _____________________________
19                                                   Hon. Joseph C. Spero
20                                                   UNITED STATES MAGISTRATE JUDGE

21
22
23
24
25
26
27
28



     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Order Granting Temporary Restraining Order and Order to Show Cause - 3
